Case 2:14-Cv-00224-E.]L-CWD Document 1 Filed 06/05/14 Page 1 of 4

Robert A. Andersc)n, ISB No. 2124
Yvonne A. Dunbar, ISB NO. 7200
ANDERS ON, JULIAN & HULL LLP
C. W. Moore Plaza
250 South Fifth Street, Suite 700
Post Offiee Box 7426
Boise, Idaho 83707-7426
Telephone: (208) 344-5800
Facsimile: (208) 344-5510
E-Mail: raanderson@ajhlaw.com
ydunbar@ajhlaw.com

Attorneysfor Defendant

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

ROBERT MOGADAM, an individual,
Plaintiff,

VS.

LIBERTY MUTUAL FIRE INSURANCE

CO., a foreign insurance company (aka:
LIBERTY MUTUAL INSURANCE

CORPORATION, aka LIBERTY MUTUAL)

and JOHN DOE ENTITIES l-X,

Defendants.

 

 

Case No.
KOOtenai County Case NO: CV-14~3132
NOTICE OF REMOVAL

Filing Fee: $400.00

REMOVAL FROM STATE DISTRICT COURT T() U.S. DISTRICT COURT

TO: PLAINTIFF AND HIS ATTORNEYS OF RECORD, and
THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1441 and 1446, the Defendant

hereby removes the above-entitled cause Of action from the District Court Of the First Judicial

NOTICE OF REMOVAL - 1

Case 2:14-cv-00224-E.]L-CWD Document 1 Filed 06/05/14 Page 2 of 4

District of the State of Idaho, in and for the County of Bonner, to the United States District Court
for the District of Idaho, based on the following grounds:

FIRST: That Defendant Liberty Mutual Fire Insurance Co. aka Liberty Mutual Insurance
Corporation aka Liberty Mutual (“Liberty Mutual”) is the Defendant in Civil Case No. CV-14-
3132 brought against it in the District Court of the First J udicial District of the State of Idaho, in
and for the County of Kootenai, entitled Robert Mogadam vs. Liberty Mutual Fire Insurance
Co. aka Liberty Mutaal Insurance Corporation aka Liberty Mutual. A copy of the Summons
and Complaint in that action is attached hereto and constitutes all process, pleadings and orders
served upon Defendant in such action.

SECOND: That the aforesaid action was commenced by service of process consisting of
a Summons and Complaint upon the Defendant on the Sth day of May, 2014 through service
upon the Director of lnsurance of the State of ldaho per I.C. § 41-334.

THIRD: That the Plaintiff in the above-entitled action is a citizen of the State of Idaho.
See Complainl ‘][ l. At the time of the filing and service of said Summons and Complaint,
Defendant was and is a foreign corporation with its principle place of business in Massachusetts.
Complaim Caption; Ajjc. of Coansel in Sapport of Removal, Ex. A. Thus, the controversy herein
between the Plaintiffs and the Defendant is a controversy between citizens of different states.

FOURTH: That the matter in controversy exceeds the sum of $75,000.00, exclusive of
interest and costs. Specifically, as set forth in the Plaintiff’s June 21, 2012 Proof of Loss, the
Plaintiff has made an insurance claim in the amount of approximately $324,337.70 as to a

claimed theft of personal property, see Ajj”. of Caansel in Sapport ofRemoval, Ex. B, and further

NOTICE OF REMOVAL - 2

Case 2:14-cv-00224-E.]L-CWD Document 1 Filed 06/05/14 Page 3 of 4

makes demand for unspecified amounts for additional damages, interest, and attorney’s fees.
Complaint ‘I[ XXIV and pp. 7-8.

FIFTH: That this is a civil action brought in a State Court of which the United States
District Court has original jurisdiction because of diversity of citizenship; the Defendant is not a
citizen of the State of Idaho, wherein the action was brought; and the amount in controversy
exceeds $75,000, giving rise to jurisdiction in the federal district court pursuant to 28 U.S.C. §
1332.

WHEREFORE, Defendant prays that this cause proceed in the United States District
Court for the District of Idaho as an action properly removed thereto.

DATED this Mf June, 2014.

ANDERS ON, JULIAN & HULL LLP

By g@‘&i/éi<i“/(N\

Robert A. Anderson, Of the Firm
Attorneys for Defendant

 

NOTICE OF REMOVAL - 3

Case 2:14-cv-00224-E.]L-CWD Document 1 Filed 06/05/14 Page 4 of 4

CERTIFICATE OF MAILING

I HEREBY CERTIFY that on this §Ld§ of June, 2014, l filed the foregoing NOTICE
OF REMOVAL electronically through the CM/ECF system, which caused the following parties
or counsel to be served by electronic means, as more fully reflected on the Notice of Electronic

Filing:

Randall C. Probasco l:[ U.S. Mail, postage prepaid
Br@wn, Jusih & Romero, PLLC [:| Hand-Dehvered
P. o. Box 1143 [] overnight Maii
627 Government Way l:l Facsimile 208-664-2193
Coeur d’Alene, Idaho 83816 I:I E-Mail
Phone: (208) 664-2191 CM/ECF
Email: randall@cdaattorneys.com
Atlorneys for Plaintin
19

 

Robert A. An\derson

NOTICE OF REMOVAL - 4

